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B104 (FORM 104) (08/07)

                                                                                               ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
               ADVERSARY PROCEEDING COVER SHEET


PLAINTIFFS                                                                DEFENDANTS
     Darren Scott Matloff                                                    Triumphant Gold Limited
ATTORNEYS (Firm Name, Address, and Telephone No.)                         ATTORNEYS (If Known)
Sarah M. Cox;                                                             Katharine Battaia Clark
Law Office of Sarah M. Cox, PLLC                                          HEDRICK KRING, PLLC
12770 Coit Rd, Ste 1100;                                                  1700 Pacific Avenue, Suite 4650
Dallas TX 75251                                                           Dallas, Texas 75201
Phone: (214) 310-1321                                                     Tel Phone: (214) 880-9600

PARTY (Check One Box Only)                                                PARTY (Check One Box Only)
    Debtor                  U.S. Trustee/BankruptcyAdmin                      Debtor                   U.S. Trustee/Bankruptcy Admin
    Creditor                Other                                             Creditor                 Other
    Trustee                                                                   Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
      Automatic Stay Violation-11 U.S.C. §§362(a), 362(k) & § 105;
                                                            NATURE OF SUIT
     (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

       FRBP 7001(1) - Recovery of Money/Property                                  FRBP 7001(6) - Dischargeability (continued)
       11-Recovery of money/property - §542 turnover of property                  61-Dischargeability - §523(a)(5), domestic support
       12-Recovery of money/property - §547 preference                            68-Dischargeability - §523(a)(6), willful and malicious
       13-Recovery of money/property - §548 fraudulent transfer                           injury
1      14-Recovery of money/property - other                                      63-Dischargeability - §523(a)(8), student loan
                                                                                  64-Dischargeability - §523(a)(15), divorce or separation
       FRBP 7001(2) - Validity, Priority or Extent of Lien                                obligation (other than domestic support)
        21-Validity, priority or extent of lien or other interest in              65-Dischargeability - other
                  property
                                                                                  FRBP 7001(7) - Injunctive Relief
       FRBP 7001(3) - Approval of Sale of Property                                71-Injunctive relief - reinstatement of stay
       31-Approval of sale of property of estate and of a co-owner –              72-Injunctive relief - other
               §363(h)
       FRBP 7001(4) - Objection/Revocation of Discharge                           FRBP 7001(8) Subordination of Claim or Interest
       41-Objection / revocation of discharge - §727(c),(d),(e)                   81-Subordination of claim or interest

       FRBP 7001(5) - Revocation of Confirmation                                  FRBP 7001(9) Declaratory Judgment
       51-Revocation of confirmation                                      2       91-Declaratory judgment

       FRBP 7001(6) - Dischargeability                                            FRBP 7001(10) Determination of Removed Action
       66-Dischargeability - §523(a)(1),(14),(14A) priority tax                   01-Determination of removed claim or cause
               claims
       62-Dischargeability - §523(a)(2), false pretenses, false                   Other
                representation, actual fraud                                      SS-SIPA Case - 15 U.S.C. §§78aaa et.seq.
       67-Dischargeability - §523(a)(4), fraud as fiduciary,                      02-Other (e.g. other actions that would have been brought in
                embezzlement, larceny                                                        state court if unrelated to bankruptcy case)

                          (continued next column)

    Check if this case involves a substantive issue of state law              Check if this is asserted to be a class action under FRCP 23


    Check if a jury trial is demanded in complaint                        Demand $20,000 (Estimated. Requesting sanctions to be
                                                                                          determined by the Court)

Other Relief Sought
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